          Case 2:07-cr-00027-RSM          Document 31        Filed 02/12/07     Page 1 of 3




01

02

03

04

05

06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR07-027-RSM
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   CHARLES W. GRIFFIN,                  )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Commit Identity Theft and Bank Fraud; Aggravated Identity

15 Theft; Possession of Document Making Implements

16 Date of Detention Hearing:     February 12, 2007

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant and five co-defendants are charged by indictment with conspiring to use

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 1
           Case 2:07-cr-00027-RSM           Document 31        Filed 02/12/07      Page 2 of 3




01 identification documents of other persons to defraud certain financial institutions. The indictment

02 describes the acts in furtherance of the conspiracy occurring between 2004 and December 2005.

03 At the detention hearing, the AUSA proffered audiotapes of conversations between the defendant

04 and an individual currently incarcerated at the Federal Detention Center at SeaTac which are

05 alleged to illustrate the weight of the evidence against defendant, as well as willingness to engage

06 in witness intimidation.

07          2.      Defendant has a lengthy criminal record. Defendant was on supervised release with

08 the United States Probation Office at the time many of the acts of the alleged conspiracy occurred.

09 Numerous violation reports were filed during the terms of supervision. Defendant’s probation

10 officer indicates that defendant was “unsuccessful on supervision”. There is some discrepancy in

11 the employment and residential information provided.

12          3.      Defendant poses a risk of nonappearance due to a history of failing to comply with

13 the conditions of supervised release, the nature of the instant charges which relate to false and/or

14 stolen identification documents, and discrepant information regarding employment and residential

15 situation. He poses a risk of danger due to criminal history, status on supervised release at the

16 time the instant offense is alleged to have occurred, and the nature of the current charges.

17          4.      There does not appear to be any condition or combination of conditions that will

18 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

19 to other persons or the community.

20 It is therefore ORDERED:

21          (1)     Defendant shall be detained pending trial and committed to the custody of the

22                  Attorney General for confinement in a correction facility separate, to the extent

     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
     PAGE 2
         Case 2:07-cr-00027-RSM          Document 31       Filed 02/12/07      Page 3 of 3




01               practicable, from persons awaiting or serving sentences or being held in custody

02               pending appeal;

03         (2)   Defendant shall be afforded reasonable opportunity for private consultation with

04               counsel;

05         (3)   On order of a court of the United States or on request of an attorney for the

06               Government, the person in charge of the corrections facility in which defendant is

07               confined shall deliver the defendant to a United States Marshal for the purpose of

08               an appearance in connection with a court proceeding; and

09         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

10               counsel for the defendant, to the United States Marshal, and to the United States

11               Pretrial Services Officer.

12         DATED this 12th day of February, 2007.



                                               A
13

14                                             Mary Alice Theiler
                                               United States Magistrate Judge
15

16

17

18

19

20

21

22

     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
     PAGE 3
